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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
AUTOMOBILE CLUB OF NEW                                        :
YORK, INC. d/b/a AAA NEW YORK
and AAA NORTH JERSEY, INC.,                                   :   11 CIV 6746
                                                                  (RKE) (HBP)
                                                              :
                                            Plaintiffs,         DECLARATION OF
                                                              : KEVIN P. MULRY IN
                      -against-                                 OPPOSITION TO MOTION
                                                              : FOR SUMMARY JUDGMENT
THE PORT AUTHORITY OF NEW YORK
AND NEW JERSEY,                                               :

                                             Defendant.       :
-------------------------------------------------------------X

        KEVIN P. MULRY, declares under penalty of perjury, pursuant to 28 U.S.C. §

1746, that the following statements are true and correct to the best of his knowledge:

        1.       I am a member of the firm of Farrell Fritz, P.C., attorneys for plaintiffs

Automobile Club of New York, d/b/a AAA New York and AAA New Jersey, Inc.

(“AAA” or “Plaintiffs”). I submit this declaration in opposition to the motion of

defendant Port Authority of New York and New Jersey for summary judgment.

        2.       Attached hereto as Exhibit “A” is a true and correct copy of excerpts from

the transcript of the deposition of Michael Fabiano dated November 29, 2012.

        3.       Attached hereto as Exhibit “B” is a true and correct copy of excerpts from

the transcript of the deposition of Rosemary Chiricolo dated October 3, 2012.

        4.       Attached hereto as Exhibit “C” is a true and correct copy of a

Memorandum dated August 5, 2011 from Christopher O. Ward and Bill Baroni to All

Commissioners, with attachments (AAA 252-252i).




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       5.     Attached hereto as Exhibit “D” is a true and correct copy of a Port

Authority Press Release dated August 5, 2011, found at http://www.panynj.gov/press-

room/press-item.cfm?headLine_id=1401.

       6.     Attached hereto as Exhibit “E” is a true and correct copy of an Affidavit of

Michael Fabiano dated November 4, 2011, with exhibits (doc. no. 14).

       7.     Attached hereto as Exhibit “F” is a true and correct copy of a Reply

Affidavit of Michael Fabiano dated November 29, 2011 (doc. no. 23).

       8.     Attached hereto as Exhibit “G” is a true and correct copy of a letter dated

August 18, 2011 from Governors Chris Christie and Andrew Cuomo to Chairman

Samson and Vice Chairman Grayson (doc. no. 19).

       9.     Attached hereto as Exhibit “H” is a true and correct copy of notes from an

August 19, 2011 executive session of all Commissioners (AAA 201-04).

       10.    Attached hereto as Exhibit “I” is a true and correct copy of a power point

presentation and notes from a public meeting of Commissioners dated August 19, 2011

(AAA 205-16).

       11.    Attached hereto as Exhibit “J” is a true and correct copy of a power point

presentation and notes from an executive session meeting of Commissioners dated

August 19, 2011 (AAA 217-31).

       12.    Attached hereto as Exhibit “K” is a true and correct copy of board meeting

transcripts of a public meeting of Commissioners dated August 19, 2011 (AAA 188-200).

       13.    Attached hereto as Exhibit “L” is a true and correct copy of a page from

the Port Authority website showing a map of the route between the Lincoln Tunnel and

the Pulaski Skyway, found at http://www.panynj.gov/bridges-tunnels/driving-directions-



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map.html?sourceAddress=Lincoln+Tunnel&facilityAddress=Lincoln+Tunnel%2C+New

+York%2C+NY+10001&destinationAddress=Pulaski+Skyway.

        14.        Attached hereto as Exhibit “M” is a true and correct copy of a Port

Authority document dated June 2012, entitled “NY Works: Overview of the Preliminary

Port Authority 10-Year Capital Plan and Current Reform Initiatives,” found at

http://esd.ny.gov/PublicMeetings_Notices/NYWorks/06032012_NYWORKSCapitalPlan

Initiatives.pdf.

        15.        Attached hereto as Exhibit “N” is a true and correct copy of a Port

Authority document dated February 2014, entitled “Capital Plan Summary 2014-2023,”

found at http://www.panynj.gov/corporate-information/pdf/2014-public-capital-plan.pdf.

        16.        Attached hereto as Exhibit “O” is a true and correct copy of excerpts from

plaintiffs’ trial memorandum submitted to the District Court in Automobile Club of New

York, Inc. v. Port Authority of New York and New Jersey, 87 Civ. 2419 (MP), decision

reported at 706 F. Supp. 2d 264 (S.D.N.Y. 1989).

        17.        Attached hereto as Exhibit “P” is a true and correct copy of excerpts from

appellants' brief submitted to the Court of Appeals for the Second Circuit in Automobile

Club of New York, Inc. v. Port Authority of New York and New Jersey, Docket No. 89-

7267, decision reported at 887 F.2d 417 (2d Cir. 1989).




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       18.     Attached hereto as Exhibit “Q” is a true and correct copy of excerpts from

the financial statements of defendant Port Authority for the years 2001 through 2011, and

excerpts from the Port Authority preliminary 2012 budget.

       19.     Attached hereto as Exhibit “R” is a true and correct copy of an Affidavit

of Robert Walters dated November 18, 2011, with exhibits.



Dated: Uniondale, New York
       August 21, 2015




                                                      /s/ Kevin P. Mulry         .




                                                         Kevin P. Mulry




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